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                                                                    J     J.   JR,
                                                                         CLERK

                                                                    May 13, 2021
                                                                U.S. DISTRICT COURT
                                                             WESTERN DISTRICT OF KENTUCKY



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May 12, 2021
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       Subscribed and sworn to before me by telephone on May_ 2021 in accordance with
Fed. R. Crim. P. 41(d)(3).




      COLIN H. LINDSAY
      UNITED STATES MAGISTRATE JUDGE




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